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                                          AIELLO CANNICK
                                          Your rights ● Our business


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Of Counsel
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        VIA ECF
        Honorable Ann M. Donnelly
        United Slates District Court Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

                  Re;     United States v. Robert Kelly, 19-286(S-1)(AMD)

        Dear Judge Donnelly;

                On July 12, 2021, the Court issued an Order stating, “The Court directs Metropolitan
        Detention Center(“MDC”)to ensure that the defendant is able to meet with his counsel in a private
        room at MDC. MDC will ensure that these meetings can take place as frequently as the defendant
        and his counsel requesL and for the duration that the defendant and his counsel request, within
        MDC's normal visiting hours. Defense counsel is directed to inform the Court without delay if
        they face difficulties booking or having client visits.”

               In accordance with the Court’s directive, we are writing to inform the Court that defense
        counsel continues to encounter multiple obstacles in our efforts to prepare for trial with our client.


             ●    We need to be able to review the enormous amounts of discovery with our client. Today
                  we were unable to bring binders, which were full of discovery materials, into the MDC.


             ●    We have been denied access with the necessary tools to assist us in having meaningful,
                  productive meetings with our client. For example, we are not allowed to bring highlighters,
                  sticky notes, markers, etc. Although these things may seem trivial to most, when preparing
                  for a trial ofthis magnitude, without these requests allow a nearly impossible situation even
                  more impossible.
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   ●   We are allowed to bring in a computer, but not the charging cord that goes with it. If we
       are visiting for longer than four hours, presumably the computer will be dead and of no
       use.


   ●   Not to mention, we have no internet access while meeting with our client. As this court is
       aware, all the discovery and 3500 materials for this case has been provided to the defense
       via external hard drives. We are not able to bring the Government’s provided external hard
       drives into the MDC. Without the internet it is impossible to have all the Government's
       disclosure available for review while meeting with our client.



   ●   II'the Government were required to prepare for this case without their computers, internet.
       iPads, tablets and phones, perhaps w'c would have no room to notify this Court of our
       concerns. However, that is clearly not the case because that would handicap the
       Government,just like it is handicapping us now.



   ●   Lastly. Mr Kelly suffers from diabetes. He anticipated spending numerous hours wdth us.
       There are no vending machines available in the visiting room. He was denied the right to
       bring down a candy bar which would prevent him from having a diabetic episode.



       The notion that Mr. Kelly can receive a fair trial based on these circumstances is not
practical. This thwarts our ability to have private, meaningful, unfettered access to our client and
for Mr. Kelly to meaningfully assist in his defense.


                                                       Respectfully submitted.




                                                       /s/ Nicole Becker, Esq.
                                                       /s/ Thomas Farinella. Esq.
                                                       /s/ Deveraux L. Cannick. Esq.
                                                       Attorneys for Defendant, Robert S. Kelly

DLC/niw
cc;   All parties via ECF
